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                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA,
   Plaintiff,
                                                       CASE NUMBER: 16-526 (FAB) & 17-240
 v.                                                    (FAB)

 HUMBERTO CONCEPCION-ANDRADES,
   Defendant.


           OBJECTIONS TO THE AMENDED PRESENTENCE INVESTIGATION REPORT

TO THE HONORABLE COURT:

         COMES NOW the defendant, HUMBERTO CONCEPCION ANDRADES, and files his

objections to the United States Probation Officer’s Amended Presentence Investigation Report

(“PSR”).

         The undersigned reviewed the PSR and reported its informal objections to the Probation Officer

in writing. While, Mr. Concepcion Andrades does not object to Part B, Part D, Part E, Part F, or Part G

of the PSR, Mr. Concepcion Andrades objects to Part A. Specifically, paragraphs 26, 64, 65, 66, 67,

and 68. Also, Mr. Concepcion Andrades respectfully objects to the probation officer’s grouping of

counts in the above-referenced cases under USSG § 3D1.2(d).

Part A
                 The Offense Conduct in Cr. No. 17-240: Paragraphs 26 and 64-68
         The defendant objects to the PSR’s characterization of the offense conduct in case 17-CR-

240. The section titled “The Offense Conduct in Cr. No. 17-240” (the “Section”) attempts to characterize

Mr. Concepcion-Andrades as the sole supplier of every shipment for which the drug trafficking

organization (“DTP”) operating from the Luis Muñoz Marin International Airport (“LMMIA”) is

responsible for under the purview of the indictment. Specifically, in paragraph 26, the PSR

mischaracterizes Mr. Concepcion Andrade’s role in the conspiracy by stating that “Humberto
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Concepcion Andrades was the leader and supplier of the DTO.” Amended PSR at 26. (Emphasis ours).

Because the evidence provided by the government in discovery does not support this assertion and

because the record is entirely devoid of evidence to show that Mr. Concepcion Andrades was the sole

supplier of the DTO, the PSR should be amended accordingly.

        Here, there is no information on the record from which the Court could conclude that Mr.

Concepcion Andrades was the sole supplier of narcotics to the DTO. Specifically, while Mr. Concepcion

Andrades is named by cooperators in some of the reports of investigations as a supplier of the DTO,

these reports of investigations do not label Mr. Concepcion Andrades as the sole supplier. In fact, the

Plea Agreement signed by Mr. Concepcion Andrades in case 17-CR-240 is telling inasmuch it directly

contradicts the PSR’s version of Mr. Concepcion Andrades role in the conspiracy. Notably, the

Stipulation of Facts signed and adopted by both the defendant and the government in the Plea

Agreement, which the Parties signed and adopted as “accurate in every respect” and understanding

that the government would have proven those facts beyond a reasonable doubt at trial, states that

“[t]he defendant was a supplier of cocaine during the conspiracy” and not the sole supplier of cocaine

in the conspiracy. D.E. 584 at 9, 12. Therefore, other than the probation officers allegations in response

to Defendant’s informal objections to the PSR that he allegedly received information from the case

agent regarding the defendant’s role in the offense as the sole supplier of the conspiracy, the probation

officer’s statements in the aforementioned section of the PSR are wholly conclusory and completely

unsupported by reliable evidence. See Addendum to PSR at 6.

        Similarly, paragraphs 64, 65, 66, 67, and 68 of the Section tie Mr. Concepcion Andrades to

specific shipments of drugs, despite the absence of evidence that these particular drugs that were

seized were supplied by Mr. Concepcion Andrades. Again, the probation officer conveniently relies on

information allegedly provided by the case agent, but there is no evidence in the record corroborating

said information. Therefore, the defense hereby requests paragraph’s 26, 64, 65, 66, 67, and 68 be
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amended appropriately to eliminate the portions of the offense conduct that are unsupported by the

evidence received during discovery or proffered by the Government.

                                              Grouping of Counts

        Under the circumstances of this case, it is appropriate for each separate indictment count

against Mr. Concepcion Andrades, in other words criminal case numbers 16-526 and 17-240, to be

mutually considered as relevant conduct of each other. Thus, the defendant hereby objects the

probation officer’s grouping of counts in the PSR under USSG § 3D1.2(d).

        Relevant conduct is “the range of conduct that is relevant to determining the applicable offense

level” under the Guidelines Manual. See USSG §1B1.3 comment. Section 1B1.3(a)(2) provides broad

rules for offenses that involve a pattern of misconduct that cannot readily be broken into discrete,

identifiable units that are meaningful for purposes of sentencing. The term “relevant conduct” is a term

of art that encompasses all acts and omissions that were part of the same “course of conduct or

common scheme or plan as the offense of conviction.” See United States v. Pennue, 770 F.3d 985,

992 (1st Cir. 2014) (citing USSG § 1B1.3(a)(2)). Under Section 1B1.3(a)(2), the defendant is liable not

only for his acts or omissions involved in the preparation for, during, or in the course of avoiding

detection for the offense of conviction, but also for the reasonable foreseeable conduct of others

involved in jointly undertaken conduct within the scope of the criminal activity. Id.

        Under the USSG, in order for two or more offenses to constitute part of a common scheme or

plan, they must be substantially connected to each other by at least one common factor, such as:

common victims; common accomplices; common purpose; or similar modus operandi. See, e.g., United

States v. Valladares, 544 F.3d 1257, 1268 (11th Cir. 2008) (separate health care fraud scheme

involving nearly identical conduct was part of a common scheme or plan). Moreover, offenses that do

not qualify as part of a common scheme or plan may nonetheless qualify as part of the same course

of conduct if they are sufficiently connected or related to each other as to warrant the conclusion that
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they are part of a single episode, spree, or ongoing series of offenses. Factors that are appropriate to

the determination of whether offenses are sufficiently connected or related to each other to be

considered as part of the same course of conduct include the following: similarity; regularity; and

temporal proximity between the offenses.

        To this point, the nature of the offenses is also a relevant consideration (for example, a

defendant's failure to file tax returns in three consecutive years would be considered part of the same

course of conduct because such returns are only required annually). See, e.g., United States v. Phillips,

516 F.3d 479, 483-84 (6th Cir. 2008) (possession of firearms four years prior to the instant offense was

part of a common scheme or plan, when the elements of similarity and regularity were strong); United

States v. Jones, 199 F. App’x 812, 816 (11th Cir. 2006) (fraud committed prior to a previous term of

incarceration was in the same course of conduct as the instant offense, given the similarity in modus

operandi).

        In United States v. Pennue, where the defendant was convicted of passing altered obligations

of the United States with intent to defraud and inducing the interstate transportation of currency with

intent to defraud, the court held that the defendant’s conduct in two separate “black money” schemes

against separate victims was relevant to determine the applicable guideline sentencing range. 770 F.3d

985, 992 (1st Cir. 2014). To reach its conclusion, the Court found that the defendant’s defrauding of

the two separate victims were part of the same course of conduct because “each of the swindles took

place in the same area and in the same time frame” and because “[t]hey shared many pertinent

characteristics, including the methods used, the nature of the artifice employed, a common fraudster,

a common accomplice, and a common modus operandi.” Id. at 992-993. According to the Court,

“[t]hose shared characteristics were sufficient to ground a finding that the gammons were cut from the

same cloth and, thus, formed part of a pattern.” Id. at 993.
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         Here, like Pennue, the record amply supports a conclusion that the conduct underlying both

indictments against Mr. Concepcion Andrades are substantially similar. Both indictments involve

narcotics trafficking through the LMMIA and both indictments involve the same modus operandi;

namely that several smuggling methods were used by the members of the conspiracy to transport the

cocaine through LMMIA and facilitate getting the drugs past the Transportation Security Administration

(TSA) security undetected. In both cases, the drugs would then reach CONUS and they would be

distributed by other members of the conspiracy. Also, the indictment in case number 16-526, alleges a

temporal scope for the drug conspiracy between 2009 through December 2013, which is subsumed

and a part of the temporal scope charged in case number 17-240 (beginning with “an undetermined

date” through April, 2017). Thus, these shared characteristics between the conduct underlying both

indictments are sufficient “to ground a finding that the gammons were cut from the same cloth and,

thus, formed part of a pattern.”

         Ultimately, the defendant believes that the temporal proximity and similarity of the offenses that

exists among the underlying conduct in both indictments strongly justifies the consideration of the

conduct underlying these cases as relevant conduct of each other. As such, the PSR should be

amended accordingly.

         WHEREFORE, the defendant, HUMBERTO CONCEPCION ANDRADES, respectfully

requests the Honorable Court to take notice of the above and order an amended PSR be filed and

order any relief it deems appropriate in light of the circumstances.

         RESPECTFULLY SUBMITTED.

         WE HEREBY CERTIFY: That today we have electronically filed the foregoing document with

the Clerk of the Court for the District of Puerto Rico, using the CM/ECF system which will send a copy

and notification of filing to all counsel of record.

         In San Juan, Puerto Rico, this June 10, 2019.
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